                   IN THE UNITED STATES DISTRICT COURT FOR THE

                            EASTERN DISTRICT OF VIRGINIA

                                     Alexandria Division

UNITED STATES OF AMERICA                     )
                                             )              Court No. 1:22-PO-988
                                             )
              v.                             )
                                             )
SHARON M. ABEL,                              )
                                             )
         Defendant.                          )

                                          ORDER

       The motion of the United States of America to dismiss without prejudice court number

1:22-PO-988 pertaining to the defendant SHARON M. ABEL, is hereby granted.

       IT IS ORDERED that court number 1:22-PO-988 pertaining to the defendant,

SHARON M. ABEL, is hereby dismissed without prejudice.




Dated this ________
day of October, 2022
Alexandria, Virginia

                                                                Digitally signed by Ivan D. Davis
                                                                Date: 2022.10.17 17:24:24 -04'00'
                                           _________________________________
                                           United States Magistrate Judge
